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                                    UNITED STATES DISTRICT COURT
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                              NORTHERN DISTRICT OF CALIFORNIA
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       DELPHINE ALLEN, et al.,                          Case No. 00-cv-04599 WHO
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14                    Plaintiffs,
               v.                                       ORDER APPROVING ENGAGEMENT
15                                                      OF EDWARD SWANSON
       CITY OF OAKLAND, et al.,
16
17                    Defendants.

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19          The Compliance Director has briefed the Court regarding Internal Affairs Case No. 18-

20   0249 and has requested the assistance of counsel with regard to the case. The Court approves the

21   engagement of Edward Swanson of Swanson & McNamara LLP to advise the Compliance

22   Director regarding Case No. 18-0249. In approving this engagement, the Court expresses no

23   opinions on any matters related to Case No. 18-0249.

24          Mr. Swanson will have the same rights and privileges as the Compliance Director,

25   including those relating to access to information and personnel, confidentiality, and not testifying

26   in this or other matters. He shall not use any information gained during the scope of this

27   engagement in any capacity aside from his role advising the Compliance Director. In addition, he

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 1   shall not be retained by any current or future litigant or claimant in a suit or claim against the
 2   City or its employees.
 3          Mr. Swanson shall be paid by Defendants through the Court registry. Defendants shall
 4   therefore deposit $25,000 into the Court registry on or before March 28, 2019. Within twenty-
 5   one days of the entry of each order approving payment to Mr. Swanson, the City shall deposit the
 6   full amount paid by the order so that the funds on deposit are replenished to $25,000. When Mr.
 7   Swanson’s services have ended, the Clerk will disburse to the City the balance of funds on
 8   deposit in the registry, including any earned interest.
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10   IT IS SO ORDERED.

11   Dated: February 28, 2019                                  ________________________
                                                               WILLIAM H. ORRICK
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                                                               United States District Judge
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                        ORDER APPROVING ENGAGEMENT OF EDWARD SWANSON
                        Delphine Allen, et al. v. City of Oakland, et al. (No. CV 00-04599 WHO)
